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10   Of Attorneys for Plaintiff

11
                                    UNITED STATES DISTRICT COURT
12
                                     FOR THE DISTRICT OF OREGON
13
                                               EUGENE DIVISION
14
      JENNIFER JOY FREYD,                                                    Case No. 6:17-cv-00448-MC
15
               Plaintiff,
16                                                           JOINT STATUS REPORT
      v.
17
      UNIVERSITY OF OREGON, MICHAEL H.
18    SCHILL and HAL SADOFSKY,
19             Defendants.
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21
           Pursuant to this Court’s July 18, 2018 Scheduling Order, counsel for the parties have
22
     conferred regarding case scheduling in this matter and hereby submit this Joint Status Report.
23
     At the time the schedule was vacated, there was one deposition scheduled to be taken by
24
     Plaintiff, the parties had some continuing discussions related to document production and had
25
     not yet conferred on Defendants’ planned dispositive motions. During conferral the parties
26
     considered the availability of Plaintiff’s lead counsel, the appearance of Plaintiff’s co-counsel,
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1    Whitney stark, the status of discovery, and the schedule of all counsel and the respective

2    parties.

3          Based on these considerations, Plaintiff and Defendants respectfully submit this Joint Status
4    Report and ask the Court to set the following case management schedule:
5          1. Close of fact discovery is October 26, 2018;
6
           2. The deadline for filing dispositive motions is November 16, 2018;
7
           3. The deadline for filing a response to dispositive motions is December 14, 2018;
8
           4. The deadline for filing a response to dispositive motions is January 4, 2019;
9
           5. Joint ADR report is due February 8, 2019;
10
           6. The deadline for expert disclosures shall be four weeks after the Court issues an order
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              on dispositive motion(s);
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           7. The close of expert discovery shall be six weeks after the deadline for expert
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              disclosures;
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           8. The parties propose that this Court request a joint status report proposing a trial date
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              within 7 days of this Court’s order on dispositive motion(s) or that the Court set a trial
16
              date on issuance of an order on dispositive motions.
17

18   Dated: September 18, 2018
19
                                                         ALBIES & STARK LLC
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                                               By:       s/ Whitney Stark
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                                                         Attorneys for Plaintiff
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